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Furthermore, Kids Count's business Gam is experienced in evaluating the cost of holding
inventory, supply chain analysis, and activity-based costing. Although the per unit cost
of CD production may look attractive if 5,000 units are added to a batch, Kids Count will
maintain high liquidity and avoid tying up dollars in unnecessary inventory given that
product production time is under two weeks.

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- PR and Media Coverage Highlights

Vicki shared her unique mission during numerous interviews
and as a featured panelist. Unanimous product reviews cite
Kids Count as an innovative leader in children’s edutainment.

Kids Count!
In the Know,
In the News

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~*t Our Web Site: www.microtimes.com

Vicki Esralew - -

President oo

Kids Count Entertainment inc. °°

Esralew’s message. of family-friendly kids’ soft-
ware has found a receptive audience, as Kids
Count's original offering, Jack's House, has been
joined not only by Jack's Attic but by music and
video products similarly devoid of violence,
gore and bad vibes. While traditional distribu-
tion remains a problem among dealers who'd
“rather stock Mortal Kombat, Esralew maintains
a toll-free number (1-800-KIDS-345) to reach
interested ‘parents. Her efforts in 1997 were met
with a good deal of public recognition, includ-_
ing a performance by Kids. Count at the
Presidential Inauguration and the designation
of Kids’ Count Week in Cook County, in
Esralew’s home state of Illinois. -
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NEWSPAPER

-Esralew’s Audio, Video, Software

Releases Show That Kids Count

Up FOR THE COUNT: If there is a
more inspirational story in the indie-
makes-good vein than that of Vicki
Esralew and her Kids Count Enter-
tainment, we'd like to hear it. Esra-
lew’s little company that could has
placed its debut album, “Home”; the
video “Kids Count Workout!”; and
interactive software “Jack’s House” in
Sears, Border Books & Music, Shopko,
Noodle Kidoodle, Zany Brainy, and
Marshall Field’s; other major retail

chains continue to pick up the titles. It_

all comes, says Esralew, from persis-
tence and an overwhelming belief in
the product.

Esralew, whose company is based in
the Chicago suburb of Northbrook, IL,
started Kids Count in 1993 after enjoy-
ing a successful career in the advertis-
ing business. She was spurred by
shocking stories of teen suicides—and,
especially, the 10-year-old British boys
who murdered a toddler—to create
something that would foster compas-
sion and empathy in children. She
wrote and produced 65 radio vignettes
designed to “inspire people to build
better relationships.” The vignettes
were syndicated in 68 radio markets
around the U.S, .

It was while trying out children’s
software on her home computer sys-
tem that Esralew was moved to create

her own. Repelled by the violent fan-
tasy scenarios so common in that
genre, Esralew and her husband, Bob
Aren, hired visual artists, animators,
and a programming coder to help them
actualize their ideas. For music, Esra-
lew naturally turned to Chicago’s size-
able talent pool of commercial com-
posers, with whom she’d interacted
while in the ad industry. Working in
her basement, the team produced

“Jack's House,” a computer game aim- ©

ed at 2- to 8-year-olds. Its point-and-
click format enables kids to explore the
bedroom of the title character, who is
based on Esralew’s son Jack, as well
as his-yard and his sister’s bedroom.

: d
ote
by Moira McCormick

“People told us we’d never get on
shelves,” says Esralew. But she proved
them wrong, as positive press (The Los
Angeles Times declared “Jack’s
House” as having the “most user-
friendly interface since Pong”) and
word-of-mouth led to retail interest,

When Esralew produced the music
album “Home” followed by the video
“Kids Count Workout!” (developed
with a health-club choreographer),
things really began to take off. “I kept
hearing songs in my head,” says Esra-
lew, who proceeded to contact jingle
writers “who could make music for
kids that’s powerful and uplifting.
When they finished, the messages in
the songs were powerful and meaning-
ful for adults as well.” Commercial
composers who worked on “Home” in-
clude Gary Fry, Morris “Butch”
Stewart, Steve Samler, Sheri Hoff-
‘man, Wade Hubbard, and Alan Ru-
bens. .

The association with Hubbard, who
was writing songs for the solo album
by Wilson Phillips’ Wendy Wilson,
led to that artist contributing vocals
on one track. When the 13-cut album
(four of its songs are featured on the
video) was completed and pressed into
CDs and cassettes, Esralew took it to
department-store giant Sears Roe-
buck & Co., which had carried “Jack’s
House.” Sears began carrying all
three products and is now stocking
them in an Esralew-created floor dis-
play. .

Now, not only do Sears and the
aforementioned retail chains carry
Kids Count product, but Esralew has
been fielding inquiries from, among
others, a giant national video web, a
major drugstore chain, two prominent
toy retailers, and a pair of sports
superstore chains.

Esralew, who notes that a three-
Song audio sampler cassette is being
blister-packed to the video package as
a means of promotion (the samplers
are also given away to schools, li-
braries, etc.), Says that she made
inroads at these major retail outlets
through sheer faith and tenacity. “
believe in what we're doing,” she says,
“and I get ahold of the right people. I
call corporate headquarters, ask for
the director of merchandising or the
buyer, and tell them I have wonderful

products for families.”

Since July, Kids Count Entertain-
ment product has been distributed by
Rounder Kids to mom-and-pop stores
and to educational toy chain Zany
Brainy. “We sell directly to the rest of
our accounts,” says Esralew, who notes
that the video is undergoing a package

redesign to reflect its Claymation ele- _

ment. - .

Esralew says a key inspiration for
her has been the classic children’s book
“The Carrot Seed” by Ruth Krauss,
in which a little boy ignores the naysay-
ers around him and grows a carrot
plant against all odds, “T feel that great
products will get where they need to
get,” she says,

Next up for Kids Count Entertain- ’

ment is the sequel to “Jack’s House,”
called “Jack’s Attic.” “It’s aimed at 6-
to 11-year-olds and is more complex,”
says Esralew. “We'll do another album
and video as well—I’ve got half of the
next CD in my head already.” As with
the first wave of Kids Count products,
a portion of the sales of the new releas-
es will benefit kid-related charities.
Esralew is working on a full-fledged
marketing plan that will involve adver-
tising, special events, promotions, and
merchandising, ,

Esralew has received a number of
buyout offers from large corporations
but says she has no interest in selling.
“No one else could handle this with the
heart, Sensitivity, and commitment I
have,” she says. “It sounds corny, but
it’s the rea] thing. I’ve fallen in love
with what I do,”

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THE WHITE HOUSE
WASHINGTON

February 13, 1997

Ms. Vicki Esralew.

President and Founder

Kids Count Entertainment, Inc.
Suite 205

3100 Dundee Road

Northbrook, Illinois 60062

Dear Vicki:

Thank you so much for your letter. I’m
glad that you were able to participate in the
Inaugural festivities, and I appreciate your ideas
on how to make the voices of our nation’s children
heard. Although I do not know what my schedule
will hold, I've sent a copy of your letter to my
schedulers.

Children are our most precious resource
and our most profound responsibility. We have
a national interest in their well-being, and my
Administration remains committed to the protection
and education of all our young people. Hillary
and I commend you for your active involvement in
helping to put the needs of our children first.

Sincerely,
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FRIDAY, JUNE 6, 1997

The Family Channel
Entertainment Guide

Your Assurance
VIDEG of Positive Family
Entertainment.
Kids Count Workout Questions or comments?
Call 1-800-811-5399 or
Kids Count Visit our Website at
Entertainment, Inc. © http://www.famfun.com
Ages 3 to 10 za
Suggested retail
price $14.99

Created especially for kids,
this 30-minute workout
features original music,

_ warm-up exercises, low
and high impact aerobics —
and cool-down stretching.
It also helps children build
positive body awarmess and
self-esteem. Performed by
a diverse group of children,
this video makes exercise
something to enjoy. Andit
helps us feel good about
who we are.
CD-ROM

Jack’s Attic

Kids Count Entertainment, Inc.
Windows and Macintosh

Ages 6 and up

Suggested retail price $39.95

Visit a special attic
filled with endless
treasures, from music
and puzzles to games
of skill. Click on a golf
bag and putt amid the
pyramids. Focus your
telescope and discover
twinkling constellations.
Find the key to Grandpa's
clock and help fix the
broken gears. Bang on
bongos and discover the
sounds of a rainforest.
With constant surprises at
"every tum, an afternoon in
this attic is time well spent.

From Grandma
With Love

ages
Suggested
retail
price $18

In this
collection
of 68 real-life stories,
grandmothers across

the nation offer a wealth
of lessons to learn from
and live by. In a time
when distance often
Separates grandparents
from their grandchildren,
the book focuseson °
true tales that teach

love, responsibility and
compassion. In short, |
they share values young-
Sters used to learn at
Grandmother’s knee.
Perfect for the whole
family to read on Mother’s
Day and all year long.

Your Assurance
of Positive Family
Entertainment.
Questions or comments?
Cail 1-800-811-5399 or
Visit our Website at
http:/Avww.famfun.com
| Love My Day School My Life As A Dog
aatyaD i Se at : ;
. 7 Ages 8 and up
it On Showtime
retail price
512.95 Here's a
$6.95 TV series as
cassette charming and
engaging as

| Day care is

im) a fact of life
for many American families.
Now there's a video developed
specifically to send a positive
message to children and parents
as they prepare for day school.
Footage of children playing,
singing and just being children
makes the case that day school
is not something to fear. It's

an experience that can be fun,
fulfilling and educational.

the Oscar-nominated 1985
foreign film of the same name.
Like the movie, Showtime's
new live-action series is set

in an idyllic Canadian fishing
village. Its wonderful coming-
of-age stories follow the
adventures of 11-year-old Eric,
played by Michael Yarmush,
who has been sent to live with
his aunt and uncle. Filled with
excellent sentiments and
valuable messages.

July 1997 © PARENTGUIDE

The POWER of PARENTGUIDE

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* Take a moment and

understanding

7

one of us
can take action

reality.

Sounds simple doesn’t it? It is. I wrote
this message three years ago at the start
of what has become a very long, personal
journey for me. Even today, as I read it,
the message still rings true. “Taking a mo-
ment,” as I suggest at the beginning, is
what made me start a company called Kids
Count. Through this company, Iam ful-.
filling my desire to do my part to make a
difference in the lives of our children.
Hopefully, as I continue my efforts, I will
be able to inspire all of you to do your
part as well... Se
As parents, grandparents, brothers, sis-
ters, aunts, uncles and teachers, we have

_ torealize that we are all vital parts of the

search for solutions to today’s growing
problems of violence, hate, lack of self-
respect and overall negativity. It is shock-

. ing to realize just how much violence our

children are exposed to at an early age.
According to the National Committee to
Prevent Child Abuse, the typical Ameri-.
can child will see more than 8,000 murders
and 100,000 acts of violence on television
before finishing grade school. And this is
only a small indication of the violence our

envision a world where kids can
learn...play...grow... . .
With respect and sensitivity to the unique
"circumstances of their lives. ~
A world where compassion and

overshadow teasing and ignorance.
A world where friendship and community
i empower a better life for all.
) Envision a world where kids count..
Wo. Imagine this vision... . oy
4+ Follow it where it may lead you... .-.

realize the significance thateach:_

to help make this wonderful visiona

children are exposed to.
These figures don’tin-
clude what they see on
their streets, in their
schools and through

tions.
Three years ago,
when I was an advertis-
ing executive, I “took a
moment” to absorb my
children’s environ-
ment— the environ-
ment that was helping to develop their very
being, and guess what? I really didn’t like
what I saw. I began to notice that my three
children, ages 2, 4 and 6, were acting out
what they were seeing on TV. It wag
shocking to me that'so many shows en-
dorsed. violence as the solution to prob-
lems. Whether it was the “good guy” or
the “bad guy,” fighting was the tool used
to win. According to one published study,
there are three to five violent acts per hour
on prime time television and between 20
to 25 violent acts per hour during Satur-
day morning children’s programming.
Why are guns, knives and weapons so

” prolific in the shows our children are

watching as well as the toys they. are play-
ing with? Something is very wrong.
Something needs to be done. According
to the American Academy of Pediatrics,
children under the age of 8 cannot uni-
formly discriminate between “real life” and
“fantasy/entertainment.” They quickly
learn that violence is an acceptable solu-
tion to resolving even complex problems,

‘particularly if the aggressor is the “hero.”

Our children learn to accept violent be-
*

A family company
committed to producing
violent-free
children’s products. .

by Vicki Esralew .

havior when we buy them products that
encourage it, when we let them watch vio-
lent cartoons and TV shows, and most im-
portantly, when they see violence in their
own backyards. This is our responsibil- °

Kids Count. After viewing some of the
software we had purchased for our chil-
dren and being appalled by the violent fan-
tasy scenarios, we knew that something
needed to be done. We didn’t have a lot of
money but my husband and I emptied our
savings and began our venture. He looked

"after our children while I worked in the base-

ment. With a lot of hard work, love and
commitment, our family project has begun
toenter into the homes of many other fami-
lies and educators.

At Kids Count, we offer parents'a posi-

Seek Pe ge”

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tive alternative to mainstream, often violent;
children’s entertainment. We want parents
to feel good about what they’re giving their
children. At the same time, we want chil-
dren to feel good about themselves and have
lots of fun while they're playing! We also
want to keep parents and children connected
because they can leam so much from each _
other. :

Now, I know what you're thinking— sure,
0 Start your own company. But that really
isn’t the point. The point is thateach one of .
us can do something positive. Starting a
new children’s entertainment company is
just the path that I took. All that I'm saying
is that you should “take a moment,” exam-
ine your own set of circumstances, and try*
to find something positive that you can do

Op--~ ity This is why my husband and I started —-to make a difference for your children.

. “Taking a moment” could be something
very little, bit if we all do it, something
little could become something very spe-
cial. Our positive efforts are very mean-
ingful for our kids. Your positive effect on
your kids will touch all of our children...one
by one. Let's give our children the best
positive entertainment choices. After all,
our kids count!

Vicki Esralew, mother of three, is the founder
of Kids Count.

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e Kids Count Entertainment Products:

‘kids ages 2-6.

Jack's House (CD-ROM) is the perfect first computer game for

@°  sJack's Attic (CD-ROM) is filled with unique adventures for

one!

moms and dads of all ages!)

children ages 6-adult. It's so much fun, it’s like getting five games in

>Kids Count Workout! is a fitness video that helps children ages 3-
10 build positive body awareness and self-esteem. (Also great for

HOME: A Collection of Family Music (CD/Cassette) features
13 original, inspirational and positively refreshing songs that the

whole family will love singing along with.

(800)KIDS-345.

For more information on Kids Count or to order products, call
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[education- news]

by Carrie Shewkerd

$40 SRP. Kids Count
800-543-7345

ages six and up

There's no fear of getting bored

when kids are up in Jack’s Attic.
Here, there are enough closets,
boxes and toys to rummage in
and dig through to keep young
players coming back again and
again.

The

opens in a dusty artic where kids

interactive adventure
can click on an armoire to find
football jerseys, cowboy hats and
work boots, which they can mix
to create wacky ourfits. A click
on a golf-club bag leads them
onto a miniature golf course in
the Sahara desert.

*ST.95/58.98 Canada #

The attic is full of activities
like these, where a grandfather
clock, a chimney or a pair of
bongo drums can lead to the

- hext adventure. Often, CDs let

you click on an image that
merely flies around a bir before
settling back into place — pretty
boring after the first click or
two. In Jack’s Attic, a dusty-
looking polka-dotted sewing
kic. for example, reveals a coor-
dination game once you look
And the

tougher as vou get better, so you

inside. game gets
don’t get bored.

But you'd best be prepared to
root around awhile. These games
don't come with instructions. so
they can be rough to figure out.
Bur it’s fun just to look around
and see what you can find. One
of the best treats is finding a tele-

scope that reveals all che constel-

-lations hidden in the stars —

proving there’s lots to look at
from up in the attic.
— Susan Ashworth
MUSIC

By Vat Smatkin

na

. J e need to thank our chil-
dren for our return to inno-
cence, for turning our

minds to the positive, and for help-
ing to create a new age in music. 1
Never in my career do I remember
so many joy filled, musically pleas-
ing CDs and audio tapes showing up
on my doorstep. And that means not
only do you and I have the pleasure
of listening to them, but the produc-
ers and performers had hours and |
hours of joy creating these treasures.

Home

DDDDD (4 to 10)
Kids Count Entertainment, Inc. (800)
kids -345. http://www.kidscount.com

On, yea. Oh yea! This is a good one.
Rockin’ rollin’, shakin’, cookin’,
bluesin’ but you and your children ©
will understand the words. It’s not
abrasive, yet not sickly sweet. It’s
musicians enjoying themselves,
singing positive songs. No preach-

ing, and only accidental teaching.

RATINGS KEY
2 Music and vocats are in time and on key
2) And songs are positive and uplifting
db) and songs are creative and fresh
Dd) Mom & Dad will like it too!
DSADD The tape stands out from the crowd!

| The styles roam through folk, light

rock, calypso, reggae, blues, and
back again. And there are children
singing who can really sing! If you
get your child to fall in love with
this album by the age of seven or So,
you will have affected his or her mu-
sical taste, positively, for decades to
come. Oh yea. Oh yea!

Family and Friends

DDDS(4 to 10)
Youngheart Music, 10701 Holder St., Cy-
press, CA 90630-4809 (800) 541 9904

J oanie Bartels just gets better and
better. She’s been described as bub-
bly, fun-filled, tuneful, sunny,
imaginative, zany, crystal voiced,
and magical. She’s the best of pure

-bubble-gum pop.

Like A Ripple on the Water

DdDD (3 to 12)

Kim & Jerry Brodey. The Children’s:
Group, 1400 Bayly St., #7, Pickering
Ontario, Canada LAW 3R2
(905) 831-1995).

Ten me if I’m getting old and
cranky. Here’s a perfectly good
children’s tape, in fact, quoting
Sesame Street Parents’ Guide, “Rich
vocals, seamless harmonies, and a
lively variety of music styles make
for a rousing recording.” But, it ap-
pears I’m tired of children’s music
that intentionally sets out to build
self-esteem, celebrate diversity, and
expand webs of connection. Part of
me cringes. Somehow it reminds me
of the sort of governmental art pro-
duced in China during the 50’s and
60’s. I just want music to be music,
and politics to be politics, But if you
like a mixture, Like A Ripple is not a
bad way to go. In fact if you teach,
get it.0 .

Next month: the return of Raffi!
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case part2 exhibitA Page 13 of 35

Jack’s Attic helps
kids learn, have fun

ids Count Software lists a
KK icrzienteet warning on

the cover of its new education- .

al software title, Jack’s Attic: “This
game may result in entirely too much
fun.”

There will be no argument here.
Jack’s Attic is
one of the best
Pieces of educa-
tional software
to cross my
desk this year.
It educates kids
by entertaining
them.

Math, prob-
lem-solving and
other skills are
taught through
interactive
games that will
keep kids ages 6 and up busy for
hours.

You get the feeling yow’re in for
something special when spotting an-
other disclaimer on the front: “No vio-
lence, no bad guys.” ,

That’s something most parents can
appreciate. Give a child math prob-

Computer Q&A: E-8

lems or reading exercises on a floppy
disk and you may generate more
frowns than smiles. Working through
bland multiplication tables is too
much like homework.

Jack’s Attic makes learning more
pleasant by using the full multimedia
capabilities of CD-ROM. Vivid colors,
music and sound lure kids into some
compelling stories and activities,
ranging from managing a small farm
to running a pizzeria. Along the way,
basic educational skills are taught.

On the Internet and in stores, kids
are spending a lot of time looking for
games offering gore and violence, be-
cause that’s what their friends are
playing. The shoot-’em-up games may
be relatively harmless, but.they
shouldn’t overshadow G-rated educa-
tional titles like Jack’s Attic.

Unfortunately, computer stores
have limited space for software and

generally want only the latest, great- .

est titles that kids are asking for. That
usually means plenty of action games
with a lot of punching, kicking and
shooting.

‘You won't find any of that in Jack’s
Attic, out Kids Count founder Vicki
Esralew hopes you give her software a
chance.

An outstanding title last year by
Kids Count, Jack’s House, was dis-
tributed only to stores in Iinois. By
Christmas, Esralew is hoping Jack’s
Attic will be available everywhere,
thanks to some major courting of
large chains.

For now, it can be ordered for
$39.95 by calling 1-800-543-7345, It’s
available for Macintosh and IBM. It
stands apart from other kids’ titles
because of Esralew’s dogged determi-
nation to keep her company’s soft-
ware wholesome. She was shopping
for software for her children three
years ago and spotted far too many ti-
tles with violence and gore as their
theme.

She quit her job as an advertising
executive and convinced her husband
that they should pour their life’s say-
ings into Kids Count.

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December 31, 1996

= FaniyLink

Child can visit ‘Jack’s House’
or play with Putt-Putt for hours

By JANE CLIFFORD

o, Santa brought you that new computer. Now,

it’s time to think about software. Yes, there’s a

ton of it out there, and, no, it’s not cheap. If you
have preschoolers and don’t know what to begin buy-
ing, here’s a look at a few programs for that age group.

“Jack's House” (Kids Count Entertainment, 800-
KIDS-345, ages 2 to 8, Win/Mac CD-ROM, $40)

This program is a total delight. Expect surprises at
every click of the
mouse. Also expect
the little ones to learn
a lot and have fun at
the same time.

The opening screen
is the front of Jack’s
house. Kids can wan-
der around the yard,
stopping at the pond,
the hedge and the
fence. Climb up onthe &
roof, check out that
tree and the playground over there. And that field out
back is interesting, too.

Stumble over the bag of vegetables and you'll find
yourself in the garden where you can plant, water and
harvest your own little plot.

Of course, you want to go into the house (try the
windows after you try the door). In Jack’s room, kids
will find an abundance of clickable “hot spots,” each
with audible rewards. Some will lead the kids to other
activities (be sure and try ALL the rocket ships in the
wallpaper border to find a “stellar” activity). A radio in
the corner plays a nice theme song, the blocks stack up
as Jack counts them, the globe is a real “trip” and the
sock on the floor hops into the open drawer for a wel- ©
come lesson in cleaning up. °

Kids who click on the color book go to a new screen’:

for coloring their own pictures. (I had trouble at first ”

‘changing crayon colors until I realized the tip of the old
crayon must touch the new crayon you want to use.)

A visit to baby sister Robin’s room is a real treat for
the youngest users. The toys all do tricks of one sort or
another, the mobile and crib play familiar melodies and
the moon will make even mom and dad sleepy. Speak-
ing of Dad, he says something very sweet to the baby
and rocks her, too, if you click in the right place.

go through accelerating

Kids will find the really wonderful activity in this
room by paying attention to those little people on the
braided rug. Let’s just say that decorating a room has
never been so much fun and, by doing it on the comput-
er, maybe they won’t bug you to try such wild and
wacky combinations outside this virtual world.

One thing kids will do is play for hours in this peace-
ful world designed by Vicki Esralew, a Chicago mom,
who wanted to create an easy-to-navigate, entertain-

-ing, educational product for children. She has accom-

plished her goal, which she named after her own son
Jack, now 5 years old.

This product, sold in Sears and through the 800
number above, has been a hit, despite being sold exclu-
sively by word-of-mouth. Esralew was encouraged

- , enough by its success to begin work on a second CD-
~- ROM, coming out early next year, called “Jack’s Attic.” -

This one, Esralew says, is for ages 6 and older and uses
the same pleasant approach to challenge older comput-
er users.

“Putt-Putt and Pep’s Balloon-0-Rama” and
“Putt-Putt and Pep’s Dog on a Stick” (Humongous
Entertainment, 800-499-8386, ages 3 to 8,
Win/Mac CD-ROM, $15)

These two programs are Humongous’ answer to ar-

- cade games for the very

young. They are two of the
programs in the “Junior Ar-
cade” series, featuring
Freddi Fish and friends.
The games are fun, chal- §
lenging enough for the age
range and, unlike those in
the blast-’em, shoot-em-to- f
smithereens category,
these are harmless. Kids

levels, helping Pep (a dog)

. Pop balloons in one and bounce on bones witha pogo

stick in the other.
The only thing to keep in mind is that they are rela-

: tively mindless diversions — and difficult to tear your-

self away from — so if you have trouble limiting your
youngsters’ time on the computer, these games could
only make that more difficult.

8 Jane Clifford is Family Ties Editor at the
Union-Tribune.

A True

BY STEVEN ANZOVIN

NORTHBROOK, IL — Vicki
Esralew says “I only do stuff
I'm passionate about.” Which
explains how this 36-year-old
mother of three hardly missed
a beat when she went into
labor while finishing up |
her company's first soft-
ware project. “We were §
working on it as I timed ff
my contractions.” :

Esralew started Kids
Count Entertainment to
counter what she saw as
a bombardment of “ag-
gressive, even violent,
media voices.” She must
have struck a nerve. Her
first product, a low-bud-
get totware CD-ROM
called Jack's House, has
generated a surprising
amount of industry buzz.
A sequel, Jack’s Attic, is due out
in March.

“Children today face chal-
lenges we never dreamed of,”
Esralew says. “The essential
messages of life — the impor-
tance of love and family and how
to use them as a base of support

-during life's difficulties — be-

come lost.”
Jack's House, aimed at kids

’ 2 and up, is based on Esralew's

own house and her son Jack.

“We had a lot of heart and na money,”
Says Vicki Esralew, who started Kids
Count in her basement.

The game offers the hot spots and
embedded games and activities
common in other totware titles,
but differs from most in its gentle

tone and emphasis on a nurturing, |

friendly environment without
explosions or bizarre aliens.

That’s in keeping with the
test of Esralew’s career, which
has largely been dedicated to
promoting positive, uplifting
messages. For several years she's
been creating “good news” pieces
for radio syndication. Moved
by media accounts of the teasing
and resultant suicide of an 11-
year-old boy, she began a ser-
ies of upbeat vignettes on kid-
related social etiquette she called
“Kids Count.”

“T believe in the copycat ef-
fect.” Esralew says. “I'd love

Jack's House, a surprise debut
litle from Kids Count, is modeled §
on creator Vicki Esralew's own

casfof Pe. Mol GS GO LE of) Lory 14 Desc Exhibit

Labor of Love

to reduce teasing, increase com-
passion, strengthen the social
fabric. In the Kids Count spots,
we show that’ it’s OK to be sad
and OK to be scared, it’s part of
being a person.”

Apple saw an early version
of the program and offered Kids
Count a featured booth in the
Apple Pavilion at last August's
MacWorld Expo Boston. That
exposure Jed in turn to a number
of buyout offers, all of which Es-
talew has refused. “This is my
baby,” she says. “I just have to do
this from my heart.”

Having virtually no funding
hasn't prevented Kids Count.
which now has eight employees,
from tapping into a respectable
retail network that includes Elec-
tronics'Boutique, Hills Brothers.
Noodle’ Kadoddle, Zany Brainy,
and Sears. A boutique firm, VLM

house and her son Jack.

At the same time,
she became aware
of kids software and
didn’t like what she
saw. “I wasn't happy
with the supposedly
kid-positive games §
available at the time.

I decided to create
a game. We really
hoped to change the face of
software.”

inside Jack’s House, children find a warm and lriendly
So my husband and environment. Esralew believes that kids can feel

the love that went into creating the software.

Entertainment Chicago, handles

Kids ,Count's retail distribution.
“We went with a small and

kid-positive

“I wasn’t happy
with the supposedly They really believe that

games available at
the time. So my
husband and I

decided to create example, in the attic there's

a game. We really an old set of golf clubs. You

new distributor because I felt
more comfortabie with them.

Jack's House is not just an-
other SKU number.”

The sequel. Jack's Attic,
represents a jump in detail
and warmth, says Esralew.
“The idea is to show the
value in older things. For

click on them and get a

hoped to change the miniature ‘golf course that

face of software.” features famous landmarks

— Vicki Esralew

from around the world.”
Esralew's ambitions

Esralew started Kids Count
in her basement, recruiting a
team of programmers, animators,
and artists from the Chicago
environs and paying for the
enterprise with the profits from
her advertising business. “We
had a Jot of heart and no money.
People said we'd never get shelf-
space, but J didn’t think about
that — all I pictured was little
faces in front of the computer
playing Jack's House.”

When her house flooded,
Esralew even made that part of
the game. She firmly believes
that kids notice the detail and can
feel the love that went into
the project.

don't stop at software —
she's on her way to creating a
mini-entertainment empire. A
recording of a Kids Count music
CD entitled “Home” is just out,
and a Kids Count workout video
is in production. Shot at the
Chicago Children’s Museum, the
video uses a mix of live action
and claymation to, as Esralew
says, “help kids get in touch with
wh “they are, in a fun way.”
Esralew has also designed a Kids
Count display rack that will hold
all the various media.

But, she emphasizes, Kids
Count is all about having a con-
science, not about making money.
“T only do stuff I'm passionate
about. It grows as I grow.” ¢

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ARES

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Marie Ellis,

Instructional Technology Resource Taacher
Kenasha Unified School District No. {
Instructional Media Center

3500 - 52nd Street

Kenosha, Wisconsin 53144

414 - 657 - 7622

TO: Vicki Esralew,
KIDS COUNT

~ FROM: Marie Elfis
RE:. Jack’s Attic
DATE: 10/21/97

Congratulations on creating the most incredible piece of software I’ve had ever seen.
Jack’s Attic has everything that fits today’s learning and teaching Styles. Today's
students are growing up in a multimedia environment and the Aitic capitalizes on it.
Not only does it appeal visually, but also through sound and cbject manipulation. And
talk about critical thinking...the Attic is truly consiructivist in approach, taking what
students know and utilizing it in real problem solving situations with challenge and
motivation along the way!

Finally, someone has gone beyond getting “cute” on the screen and put the real
“content’ of leaming in a program at the same time. Every minute is learning time.
Study after study on brain compatible learning states that the best results for leaming
come from “puzzle” or problem type situations. Kids will Stay on task and engaged
longer when the task is challenging, but accomplishable.

Coming from a technaicgy rich district, | can honestly say that you have really gotten it
right...you've integrated the curriculum areas, given kids the opportunity to use their
knowledge, extend it, and refine it ina very comfortable environment.

How good is it? | couldn't get my college age kids away from the computer on a
Saturday night. Grown kids hanging around the computer instead of heading out...

Hats off to youll!!!i!

abi bhles

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RESOLUTION
Sponsored by
THE HONORABLE JOSEPH MARIO MORENO,
COUNTY COMMISSIONER

WHEREAS, children today are exposed all to often to violence and negative imagery portrayed on television
programs, popular songs, and computer and vid

WHEREAS, Vicki Esralet “the mother of* ree young.
Entertainment, Inc. orward-thinking ¢x
through educationat’software.

€n;.Set.out to fulfill this.nee founding Kids Count
that encourages’ Gr live thinking andphysical awareness
: music anid exercise videos for children; an

‘cational children’ S
k County; and

i 1d si “work in developing
st@nate the v ok of August 24'to'30 as “Kids Count Week” in,

BE IT FURTHER RESOLVED: that. this text: be spread upa
and a suitable copy of same be presented:Ms. Esrale t

Approved and adopted this 5th day of August, 1997.

Leb Me Lorre Mme)

EGSEPH MARIO MORENO soe H. STROGER, JR., President

County Board of Commissioners
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Familylink
A good, fun family game with
hidden surprises everywhere

you see, then click again because the team that built

By JANE CLIFFORD

. “Jack’s Attic” has hidden surprises everywhere,
he kids are back to the books, but if you're looking This space isn’t big enough to tell you (nor would I
for a worthwhile way for them to kick backand re. Want to spoil the fun) about everything this CD prom-
lax, then send them to “Jack’s Attic.” . ises. But here are a few of my favorites.
Anyone who’s been to “Jack’s House” will want to ’ allgzame
explore further by walking into this room filled with it's a Whole New B &

the promise of fun. “You can choose the speed at which the ball will roll
One word of caution to parents who plan to help " across the game board, but be careful not to let it roll
their children off. The object here is to size up the figures on the -
‘with this pro- board and use directional arrows to make sure the ba
gram: Read the hits each one without rolling off. The more direct a
book. I wandered route you take, the fewer arrows you use and the mo:
around aimlessly points you collect. Get 15 to win the game. Very chal-
in the main . lenging. Very good for thinking skills. And anyone wk
screen, trying to lived through the ’70s will get a chuckle at the end.

find my way to The Rhythm of the Rainforest

things and, at - : .
times, became Another good exercise for brains young and old, wi
the added value of some music appreciation. The ~

THE SAN DIEGO UNION-TRIBUNE « TUESDAY, SEPTEMBER 9,19

frustrated. ot SC i
Naturally, my screen Is filled with instruments and the goal is to fol-
kids had no prob- low the leader. Sounds play and then you play them

back. A new sound is added each time you respond co:

lem, and yours : .
won't either; but rectly. Lots of fun and lots of laughs if you play with ar
1 other person.

if you anticipate
being called on Se Explore the Armoire

oie. H's be for EDUTAINMENT _ It’s more than a closet, as the game promises. It’s
the journey. simple enough: dress Jack in the right piece of clothin;
And what a “Jack’s Attic” to complete an outfit by theme. It may sound a little
journey itis. Once Kids Count, (800) KIDS-345, confusing, but don’t worry, you'll know when you've
you're ready to Windows / Macintosh CD-ROM. done it right. And, with more than one of the outfits,
begin, click any-  @ges Band up, $39.95 dressing him correctly will take you on to further ad-
where. You can’ ventures,
be disappointed. : kkk Many times, there are verbal prompts, making it
Some items are easier for young children to go on their own. But, in
simple animations for momentary entertainment. Keeping with the spirit of the company that created it,

Others take you toa broad variety of activities that will “Jack’s Attic” is a good family game. Sit together and
challenge and entertain users, enjoy it,

I found out the hard way that, if you want an over- "The company is Vicki Esralew, amom looking for
view of what is ahead, the first Stop should be the brick nonviolent games for her own children. She’s the hear
wall, where Jack will tell you all about his attic: The behind Kids Count, which is growing slowly and surely
symbols will help you find your way to specific activi- by fulfilling its mandate to provide good clean fun for a
ties, though there really is no right or wrong way to go. . children. wee ee -..

Then be prepared to spend hours playing games, do- “Jack's Attic” is the latest ina line of products with <
ing math, learning about fossils, making pizza, playing _ positive spin. Hats off to her and her team for a won-
dress-up games that lead toother games, and learning _derfully creative program, full of humor, challenge,
quite a lot. learning and meaningful play for children and adults.

This is a richly detailed CD-ROM with level after
level of play. For example, click on the desk and it § Jane Clifford is Family Ties editor at the

zooms in to fill the whole screen; click oneachdrawer — Union-Tribune.

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September 27, 1996

Lestie Quint
c/o Oak Valley School
1785 Richards St.
Joliet, IL 68435
(815) 727-2359

Dear Ms. Esralew,

My name is Leslie Quint. | am a teacher of elementary-aged
children with emotional disorders. | recently purchased the COD,
“home: volume ene” at Sears. | love all of the songs and ! am.
impressed with the messages that they convey. | started my
school year off by teaching the song, “I Feel Good”, to my students.
It was the PERFECT sang to mativate them and encourage a positive
attitude! Now, whenever we’re having a difficult time getting
Started in the morning, | put on that song and We’re READY TO GO! |
have even heard the students singing that song during recess and
other unstructured times!

As a teacher, | am always planning ahead. My assistant heard
the song, “What Can | Give Away Today?”, and thought that it would
be an ideal song ta sing during the winter halidays. | try to teach my
students the value of GIUING, and their focus during the holidays is
usually on GETTING! | planon bringing them toa nursing hame to sing
holiday songs and create crafts with the residents. | would love to
add this song ta our program, which is why | am writing to you!

| would really like to have a copy of the song, “What Can | Give
Away Taday”, that does not have lyrics. My students could learn to
sing the song along with Brandon Stewart, and then once they’ve
mastered the lyrics, THEY can be the vocalists! | could also use the
instrumental version for our holiday performances. Please let me
know IF and HOW! can obtain the instrumental version of this song
and possibly the other songs on your “home: volume one” co.

| appreciate the mission your company has undertaken. |!
am interested in other Kids Count products and in helping promote

your company in any way that | can! | took forward to hearing
from you soan!

Thank You,

Lili Saat
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Congratulations!

Your product has now been awarded one of the most prestigious awards
given in the computing industry. You have demonstrated your ability to
develop a product that stands above your competition and is an example

of excellence in computing.

The FamilyPC FamilyTested Recommended Award is given based on the
results of our FamilyTesting program, which tests and rates computer products
for families. Each month, this award is given to the best of breed hardware
and software products, as well as web sites and is featured in the magazine.

Products are tested in the most realistic lab setting possible, the homes of real
computing families. At FamilyPC, we have more than 4,000 FamilyTesters
nationwide. Our testers include parents, children and educators so that we
include the broadest and most appropriate input when testing each product.
The FamilyTested program is maintained and conducted by Digital Research, -
Inc., an independent research firm located in Kennebunk, ME.

FamilyTested products are evaluated and rated on several criteria, including
fun, ease-of-use, replay, educational benefits and features. The winning prod-
ucts exhibit a rare combination of all of these components, setting them apart
from other products in their categories.
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Marketing Plan

Overall Marketing Strategy

In the start-up phase, Kids Count focused on developing a portfolio of quality products, building
brand awareness through word of mouth and limited pr activities and selling through a select
group of retailers. Having validated the company positioning and having introduced a unique
product set, Kids Count has established a scaleable business platform. The marketing strategy is
to use the advantages of direct selling to continually refine our understanding of segments we can
serve profitably as we drive sales. The Company will strategically develop the business by
initially generating strong sales and awareness through direct marketing channels, then pulling
the product lines through at retail. In essence, we will be following in the footsteps of one of

today’s most successful children’s entertainment products, Bamey. ,

Kids Count’s marketing plan is driven by three overlapping strategies that will allow us to
continue to scale the business without sacrificing product quality or our underlying mission.

e Expand brand and scale business via direct sales model

e Strategically expand into selected retail outlets and drive web-based sales using customer
information from direct sales to more finely target profitable sub-segments

e Leverage brand equity and domestic base to expand internationally and establish product
’ licensing arrangements .

Direct Business Model

A direct business model carries with it several key advantages. First, it allows Kids Count to
bypass the cash and inventory intensive retail channel. Little to no cash will be tied up in
cooperative advertising allowances or dedicated to large sales forces. Second, the direct model
allows Kids Count to eliminate reseller’s markup and the costs and risks associated with calrying
large inventories of finished goods.

More strategically, however, the direct model enables Kids Count to establish a direct

. relationship with the customer. This relationship creates valuable information -- demographics,

purchase behavior, consumer preferences -- that will not be filtered through middlemen. Coupled
with sophisticated database marketing and data mining techniques, this information will allow the
Company to continually refine its customer segmentation schemes, validate the effectiveness of
its marketing communications, and focus its product development on addressing emerging
customer needs.

Strategically Expand into Selected Retail and Drive Web-Based Sales

As the Company continues to build brand awareness, Kids Count will strategically target retail
channels based on the effectiveness of the channel in reaching our targeted segments.
Additionally, a concentrated effort will be directed toward driving web-based sales and service.
Sales in this vast growing market provides direct communication with our audience while
electronically delivering products, thereby eliminating cost of goods. Building this Direct
marketing will continue to ensure a low cost of sale and inventory risk and, most importantly, will
allow us to further refine our segmentation as our base grows. Our direct marketing strategies

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focus on the quality of customer we acquire -- as defined by economic value, propensity to make
follow-on purchases, alignment with our company mission and childrens’ issues -- as opposed to
quantity, which will be driven by our retail marketing programs.

Leverage Brand Equity and Domestic Base to Expand Internationally,

license characters

Kids Count plans to begin addressing the intemational market with the launch of two in-language
products during 1999. The leaming achieved from these two new product introductions will
inform the Company’s understanding of the economics associated with international markets and
will be the basis for extending its addressable market accordingly.

Concurrently, Kids Count has established a line of compelling characters that can easily be
“repackaged” through product licensing arrangements. The potential for licensed product lines is
magnified by the exposure provided by television. Kids Count’s ability to leverage product
licensing will tum once a deal is cut with a television media partner. It is important to note that
sales numbers in the plan do not reflect this contingency and will prove to be dramatically
understated when television programming is secured.

Segmentation and Positioning

The Company’s segmentation approach is to “de-average” the addressable market, establish the
most profitable consumer sub-segments, and develop innovative, quality products that fulfill its
‘mission. By definition, the Company’s segmentation is needs-based, evolves from our its’
mission, and flows directly from its’ positioning: ,

To families and educators that are dedicated to meeting the mental, emotional
and physical developmental needs of children, Kids Count is the brand that
blends education with entertainment to provide discovery and learning
experiences that addresses children’s needs without the use of violent images
or combative messages.

Existing Programs

The proliferation of children’s edutainment across numerous trade channels has allowed Kids
Count to hone its customer segmentation schemes and determine the most effective distribution
strategy. The company first concentrated on direct distribution, building brand awareness, and
selling through a handpicked group of retailers. The successful elements of this strategy form the
tactical element of our Marketing Plan. These include:

Retailers

Kids Count pursued a targeted retail strategy during its start up period and experienced a great
deal of success. This was especially satisfying since traditional cooperative advertising
allowances and large sales forces were not part of Kids Count's tactics. _ Children's software
buyers at Sears and Zany Brainy were immediately captivated by Vicki's passion. They were
equally impressed by the superior Kids Count CD-ROM's, interactive videos, and music, which
led to initial and subsequent purchase orders. Additional retail distribution will be strategically
layered in once strong sales and brand-building are established on DRTV.

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Toy Distributors

Discovery Toys: This company’s catalogs are distributed nationwide through more than 35,000
educators and educational consultants to about 500,000 consumers at home workshops, parties
and software fairs. Jack's Attic CD-ROM is currently being featured in the spring, 1998, edition.
In addition, Jack's Attic was awarded Discovery Toys’ 5 Star Discovery Quest award. Being
honored with this award not only means that the product surpasses their standards of excellence,
it entitles the products to be featured in a special promotional video, at all educational
conferences and in other marketing efforts developed by Discovery Quest. Since two months
after introduction, Jack's Attic was (and still is) the number one selling title. Competitors include
Humongous Entertainment, Learning Company, Davidson, Edmark, and Broderbund. “Jack’s

Attic” has just been invited to participate in a nationwide program whereby each Discovery Toys oO

educational consultant will purchase “Jack’s Attic” to personally showcase at each party. The
purchase order for January is 6,000 units. i

Software/Hardware Alliances

Gateway 2000: Gateway 2000 is one of the premier PC manufacturers in the world, with $6.5 “ /

billion in sales in 1997. Kids Count began a bundling arrangement in October, 1997. Featured in
Gateway’s most prestigious children's bundle to date, Kids Count is among the industry's best
sellers such as Barbie, Elmo and Sesame Street.

Interactive Kids: Interactive Kids is a CD-ROM club created by Grolier Direct Marketing, the
leading distributor of preschool and elementary level children's book clubs in the US. They
enroll more than 2 million new customer families each year and maintain an active house file of
more than 5 million families. This interactive club was initially tested last year with great
enthusiasm and has a current membership of 150,000 with an additional 200,000 expected to join
in 1998. Through this club, Grolier distributes the industry's very best including titles from
Davidson, Creative Wonders, Edmark, Knowledge Adventure, Simon & Schuster. Now,
they've selected Jack's Attic CD-ROM to be featured in their (998 thailings. In addition, they
have expressed interest in carrying the Spuzzle line of games. ~

%

Mailer-Inserts
Edvance Mastercard: The Advanta Corporation, a leading credit card and financial services
company with over 6 million cardholders, is introducing a new credit card marketed toward
families with children under 6 years old. Cardholders will receive special inserts that entitle them
to purchase unique children's products. Jack's House CD-ROM will be included in a mid-year
(1999 mailer~’

Triaminic Parents Club: The manufacturers of Triaminic cough syrup produce a special offer
catalog that is distributed to approximately 2 million households. Kids Count Workout! was 5
featured in their Ist quarter, 1998 catalog. The company sold out of its initial order during the first *
month and tripled the order for March. Kids Count Workout! sales outsold Sesame Street’s ABC”
video, 2 to 1.

These contracts are just a springboard to a myriad of target-opportunities to reach children and
families that will be pursued in 1999.

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New Programs

Since it’s launch in 1996, Kids Count has been successful in building brand awareness and
product interest through small scale PR. With no advertising expenditure to date, the company
has been able to secure two retail partners and a number of strategic alliances over the past few
years. The capital raised through this offering will fund a professional, national media campaign
designed to dramatically increase sales.

Two national leaders in direct television marketing have submitted proposals to increase
awareness and boost sales of Kids Count's products. These firms envision that cost efficient
targeting of Kids Count's core customers will take place through Direct TV. One such
recommendation, details a direct response investment of $4.1 million in a twelve month period is
expected to yield $12.4 million in total revenue, with net profits of more than $5 million by year-
end. Ona smaller scale, a recommendation of spending $310,000 in one quarter expects to yield’
$2.4 million in total revenue for that quarter. An illustration of the cost-per-lead, revenues and
profits of this plan is included in the appendix. A significant share of the capital requirements for
Kids Count is devoted to an aggressive media campaign similar to the one highlighted in the
appendix.

Kids Count recently entered into an agreement with NAC Marketing Company to sell our
complete family of products on radio informercials. NAC Marketing features a select group of
unique products in the area of health, self help, financial and innovative retail products. They.
place radio informercials on over 350 stations nationwide, distribute over 80,000 direct mail
pieces each month and handle everything from order processing to product fullfilment. NAC’s
volume averages between 5,000 — 40,000 units per product per month. After careful testing of
Kids Count products, NAC has asked Vicki to be the “spokesmom” “or quality, healthy products

for children and families. The show is being taped Tuesday, November 10, 1998 and will begin

a $139.99 price point. NAC’s mark-up is 5 times. Kids Count’s share will be approximately $28

Per package Pies 2.75% of gross sales, less shipping and handling. This deal has just been
( solidified anx ishet reflected in our projections.

_ Public Relations and Advertising Strategy

An important aspect of Kids Count is the heartfelt mission that is embodied in the content of the
invigorating products. One of Kids Count's competitive advantages is Vicki_as a credible
spokesmom. Her radiant personality shines through radio, TV and newspaper stories. (SEE
ACCOMPANYING NEWS CLIPS VIDEO TAPE.) Vicki's genuine appeal and verifiable impact on
sales shape the proportion of the Company’s public relations initiatives versus advertising
expenditures. While other toy makers need to spend considerable sums to break through the
advertising clutter, Kids Count has already been successful in gaining tremendous exposure
through Vicki's good will and sincere message. Kids Count's track record of impressive (and
free) PR reduces some of the need for traditional advertising. The QVC segments have proven to
be magnificent opportunities to educate customers without costly advertising campaigns.

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Kids Count will hire an experienced public relations firm to manage its PR strategy. This
strategy will target two main types of coverage:

1. Vicki and the Kids Count story
2. A focus on each product as it is released

Both will include product awards, reviews and endorsements.

Following is an outline of the media outlets we will pursue... ~~

Vicki

¢ Write by-line articles for popular parenting publications, i.e. Child, Family Fun,
Family PC, Our Kids Magazine, Parent's Digest, Play Magazine, and Working
Mother.

* Seek a feature section or "ask Vicki" section in one of the above-mentioned
parenting publications or a woman's publication such as Ladies' Home Journal,
_ Redbook, Woman's World and Working Women.

e Secure parenting segment on a nationally televised show, preferably a moming
show, e.g. The Today Show or GMA. .

e Pursue a deal with one of the top TV and/or radio networks to air Kids Count
Vignette series on celebrating kids.

e Place Vicki on speaker’s bureaus to publicize her ability to take part in panel
discussions.

e Target all appropriate media outlets for profile stories on Vicki, e.g. USA Today,
Wall Street Journal, Newsweek, Time, U.S. News & World Report, Parade, New
York Times Magazine, Dateline, 20/20, Regis & Kathy Lee, CNBC, MSNBC and

NPR.

e Book personal appearances at special events appropriate to the Kids Count
mission.

Product Reviews _- oN

Product reviews will be pursued in each of the following categories:

co a

e Key trade and consumer computer publications (e.g. Videogame Advisor,
Children's Software Review, PC World, Home PC and Family PC).

e Music trade publications (e.g. Billboard and Cashbox).

* Video publications (e.g. Video, Video Week and Video Store Magazine).

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¢ Online reviewers (e.g. Yahoo's "Cool Pick of the Week," Netscape's "What's New"
_ as well as Internet directories [for site listing] including Yahoo, Excite, Infoseek,
and Alta Vista).

e Educational publications (e.g. Library School Journal, Technology and Learning,
MultiMedia Schools, The Computing Teacher, CD-ROM Today, THE Journal and
Home Education Magazine).

e Product awards (e.g. Newsweek's Editors Choice, Family PC, SPA, Home PC,
_ National Parenting Center's Seal of Approval and Parent's Choice).

e Product endorsements (e.g. Children's Software Review, Dr. Toy, Home PC,
teachers and educational organizations and retail buyers).

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Strategic Partnerships

To build brand awareness and develop highly beneficial promotional partnerships, Kids Count in
America! Voices of Our Future was developed. This unique program ties Kids Count with the
nations largest’ child- advocacy- group, The Coalition for America’s Children. This affiliation
supports our cause while making it possible for additional appropriate partnerships.

Jointly, Kids Count and the Coalition are ready to introduce this program to support the voices of
our children and remind adults just how much kids do count. To date, Kids Count has confirmed
participation from Yahoo! and Yahooligans, who will be creating and manning a customized Kids
. Count in America! web. site. They will place between 4 to 5 million ad banners promoting the
contest and the site. Aahs World Radio has signed on_as.a-media partner. They have agreed to

oe

over $125,000 worth of promotional spots and features. In addition, Discovery Kids has

expressed interest in becoming our TV partner.

A panel of prominent parents and educators will be included in the promotion. As of this printing,

Gonfirmed participants include Dolores Jordan (Michael’s mom), Vemita Lee (Oprah’s-mom),
‘and_Lloyd "T--Walton (Executive Director, James Jordan Boys & Girls Club) and child
representatives. This exciting contest will remind children across America Just how important
their dreams and voices are and will reinforce to parents the Kids Count theme that children
deserve to be raised in loving, stimulating, and nurturing environments that promote growth,
learning and self esteem.

Kids Count in America! Voices of Our Future can go into production when timing is appropriate.

Kids Count recently secured a partnership with Blagman Media Intemational. B.M.L. is aligned
with A. Eicoff & Company (subsidiary of Ogilvy & Mather and J. Walter Thompson) and
Mercury Media. Eicoff is the number one “short form” direct response agency in the United
States, while Mercury is the number one billing “long form” agency. B.M.L. recently developed a
third alliance with Western Intemational Media Corporation within their Product Placement
division. This joint venture brings B.M.I.’s corporate clients together with filmmakers from all
around the world for product placement. With a client roster that includes Eastman Kodak,
Dodge- Chrysler, Windmere Corporation, Nederlander Entertainment, Sony Wonder, Fox Lauber
and many others, Blagman Media International is one of the most progressive advertising
agency’s in operation today. B.M.I. is handling Kids Count’s DRTV nationally as well as
internationally.

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Appendix & Exhibits

Key Personnel

Vicki Esralew
President and CEO

Vicki has 17 years experience in advertising, specifically media placement, product
positioning, promotion, and creative. Vicki started Kids Count Entertainment in 1993
with a vision. She became concerned about all the negative messages and violent
images bombarding children, and after seeing the affect it was having on her own kids,
she knew that she needed to do something positive. Vicki sold her advertising agency,
redirected her career, and poured her life savings and heart into creating a new kind of
entertainment for children, one that avoided gratuitous violence and silliness and
instead empowered and enlightened children.

Before pursuing this dream, she spent many years working for the top rated radio
station in the country, WGN. As a senior account executive, Vicki created, executed
and managed the media and creative efforts for dozens of national accounts,

After leaving WGN, Vicki opened her own advertising agency, handling all broadcast
efforts for Fannie May Candies, Fanny Farmer Candies, and Nevada Bob's Golf as
well as special projects for Sunbeam, Ameritech and Kraft Foods. In 1993 Vicki
wrote, produced and directed 75 socially responsible vignettes for radio broadcast,
entitled Kids Count and syndicated them in 70 markets, nationwide.

Vicki obtained a B.A. in Advertising from the University of Illinois in 1980, with a
secondary emphasis in Early Childhood Education.

Creative Associates

Gary Fry, Composer, writer has produced more than 2,500 musical accompaniments for
leading consumer products firms, including McDonald's, Kraft/General Foods, Anheuser-
Busch and Procter & Gamble. As composer/arranger, Gary Fry has developed a long-term
relationship with Wamer Kids for their Baby Looney Tunes productions. In addition, Gary's
early career in New York City included work for Barbara Streisand, Bette Midler, Paul Simon,
Billy Joel, and John Denver.

Allen Rubens, Vice President, Associate Creative Director, DDB Needham, Chicago, has
written over 100 television radio commercials and won acclaimed awards for Spuds
MacKenzie and McDonald's. Allen has also written songs for Richy Havens as well as a
screenplay for 20th Century Fox.

Steven Samler, Composer, is an innovative creator of music for network television and radio

spots. Specializing in the art of digitally created music and sound design, Steven's clients
include Nike, Olympus Cameras, National Education Association, McDonald's, and Motorola.

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Among his most treasured awards is the International Film Festival, “Gold Lion”. He recently
began applying his musical talent to an array of CD-ROM's.

Wade Hubbard, Composer, writer has received Emmy, Addy and Clio Awards for his dynamic
musical accompaniments to films, TV shows, and commercials. Wade is also a co-writer and
producer of several songs for David Hasselhoff's newly released album (11/97) on Polydor
Records.

Butch Stewart, Composer is another celebrated music producer whose radio and television
commercials include Coca Cola, Ameritech, Polaroid, and Pizza Hut. Butch's current music
image package includes the 1996-98 theme for the Oprah Winfrey Show, "Get With The
Program," featuring Patti LaBelle.

Hirees

The company plans to hire an Operations Manager upon completion of the private placement
and will continue outsourcing from some of the most talented people in the industry.

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Analogous Start-ups

The rapidly growing children's edutainment industry is growing through merger and
acquisition activity. A few niche players became prominent leaders within designated
edutainment segments following compatible mergers. The following highlights point
out the successes of start-up firms that began much like Kids Count.

Humongous Entertainment:

Putt-Putt, Humongous Entertainment's first and its most popular character, was born in
1990 when Shelley Day created the lovable, little purple car as a character for evening
bedtime stories for her then 3-year-old son. Day and Ron Gilbert launched
Humongous Entertainment in 1992 to create world-class interactive adventures for
children. Putt-Putt was a natural choice to be their first Star.

Humongous Entertainment pushes the edge in interactive storytelling, an emerging art

form that did not exist 10 years ago. In July of 1995 Fortune magazine featured

Humongous Entertainment as one of the "25 Cool Companies." By the end of 1995,
Humongous achieved sales of $5 million. F ollowing that year of sales, GT Interactive

stepped in and acquired the company for $76 million. Since then, Humongous has

developed a strategic partnership with The Strategy Licensing Company, a subsidiary

of Lancit Media Entertainment, to develop a merchandising program based on its

family of original characters. With this, Lancit signed on in 1997 to create television,

motion picture, and home video Programming based on its family of original

characters. .

Barney:

Barney was created by Sheryl Leach, a mom with a desire to find quality and

. educational video entertainment for her young son. Leach started by producing a
series of videos entitled "Barney & The Backyard Gang." The series debuted in 1988
and became a best seller by 1991 through the use of direct marketing channels. One of
the videos sold ended up in a Prospect, Connecticut, video store and was selected for
viewing by 4-year-old Leora Rifkin, daughter of Larry Rifkin, executive vice president
of programming for Connecticut Public Television. Rifkin, whose station is an award- -
winning producer of local and national programs, was intrigued as his daughter
watched the Barney video repeatedly, singing and dancing with her newfound dinosaur
friend. Knowing that the Corporation for Public Broadcasting and Public Broadcasting
Service were searching for new, quality children's programming, Rifkin contacted
Leach and the rest is history. Now, Barney is seen by 14 million viewers on PBS each
week, has sold 38 million videos, 3 million copies of Barney music and more than 15
million plush toys.

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